              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                     CRIMINAL CASE NO. 1:02cr45-9


UNITED STATES OF AMERICA,       )
                                )
                                )
              vs.               )                    ORDER
                                )
                                )
MONUEL NICODEMUS JOHNSON.       )
_________________________________)

     THIS MATTER is before the Court on the Defendant’s Motion for

Clarification of Sentence [Doc. 347].

     On June 12, 2002, the Defendant was charged in a Superseding Bill

of Indictment with conspiracy to possess with intent to distribute

methamphetamine, in violation of 21 U.S.C. §846.            [Doc. 27].         On

September 11, 2002, a Writ of Habeas Corpus Ad Prosequendum issued to

the North Carolina Department of Corrections for the Defendant’s arrest.

[Doc. 96]. The Defendant was arrested and taken into federal custody

upon the execution of that Writ on or about September 18, 2002. The

Defendant entered into a plea agreement with the Government on June 10,

2003. [Doc. 206]. On April 14, 2004, he was sentenced by Hon. Lacy H.




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Thornburg to serve 160 months imprisonment.1 [Doc. 279]. The Judgment

of Conviction contains no wording related to the state sentence the

Defendant was serving at the time he was taken into federal custody for the

prosecution of this case. The Defendant thus asks that this Court modify

that Judgment to “clarify” that his federal sentence was to run concurrently

with his state sentence.

          It is undisputed that the Defendant was in state custody at the time he

was indicted in federal court and that he was transferred into federal

custody for prosecution by federal authorities.

          A prisoner detained pursuant to a writ ad prosequendum is
          considered to remain in the primary custody of the first
          jurisdiction unless and until the first sovereign relinquishes
          jurisdiction over the person. The receiving sovereign - in this
          case, the federal government - is, therefore, considered simply
          to be Aborrowing@ the prisoner from the sending sovereign for
          the purposes of indicting, arraigning, trying, and sentencing
          him.      For the purposes of computing [the Defendant=s]
          sentence, therefore, the time spent in federal custody pursuant
          to a writ ad prosequendum is credited toward his state
          sentence, not his federal sentence.

Ruggliano v. Reish, 307 F.3d 121, 125 n.1 (3rd Cir. 2002), abrogated on

other grounds U.S.S.G. '5G1.3, comment. (n. 3(e)); United States v. Poole,

531 F.3d 263, 271 (4th Cir. 2008) (writ ad prosequendum works a mere

loan of the prisoner to federal authorities and not a change in custody);

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    Upon Judge Thornburg’s retirement, the case was reassigned to the undersigned.
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United States v. Fermin, 252 F.3d 102, 108 n.10 (2nd Cir. 2001); United

States v. Evans, 159 F.3d 908, 912 (4th Cir. 1998); Martin v. Lamanna,

2009 WL 690686 **6 (D.S.C.), affirmed 333 Fed. App=x. 796 (4th Cir. 2009)

(APrisoners who are in state custody and are removed on a federal writ of

habeas corpus ad prosequendum are not entitled to credit on a subsequent

federal sentence for the days detained in federal custody on the writ when

they received the credit towards their state sentence.@); Hines v. Schult,

2009 WL 384043 (N.D.N.Y. 2009). As a result, there is nothing to clarify.

      In addition, the Defendant’s claim is that the Bureau of Prisons (BOP)

has denied him credit against his federal sentence for time spent in state

custody while he was Aborrowed@ from state authorities pursuant to the writ

ad prosequendum. The Defendant thus seeks to attack the manner in

which the BOP is executing his sentence. Such an action must be brought

in the district in which the inmate is confined. Kanai v. McHugh, 638 F.3d

251 (4th Cir.), cert. denied    U.S.       , 132 S.Ct. 381, 181 L.Ed.2d 240

(2011); Franklin v. United States, 72 Fed. App=x. 736 (10th Cir. 2003)

(prisoner attacking computation of credit for time spent in detention

pursuant to writ ad prosequendum must pursue same in district of

confinement).


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     IT IS, THEREFORE, ORDERED that the Defendant’s Motion for

Clarification of Sentence [Doc. 347] is hereby DENIED.

                                   Signed: May 21, 2013




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